Case 1:19-cv-00547-GZS Document 55 Filed 01/25/21 Page 1 of 2                 PageID #: 384



                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


JON R. ADAMS,                              )
                                           )
                     Plaintiff             )
                                           )
v.                                         )      1:19-cv-00547-GZS
                                           )
MATTHEW MAGNUSSON, et al.,                 )
                                           )
                     Defendants            )


                  RECOMMENDED DECISION ON PLAINTIFF’S
                 MOTION FOR PARTIAL SUMMARY JUDGMENT

       Plaintiff moves for summary judgment on the issue of whether he exhausted the

available administrative remedies before he commenced this action. (Motion, ECF No. 17.)

Defendants maintain the motion is premature and ask the Court to deny the motion without

prejudice. (Response, ECF No. 19.)

       On Defendants’ motion, and without objection from Plaintiff, on May 28, 2020, the

Court stayed further proceedings in this matter, and required Defendants to file a status

report in September 2020. (Order, ECF No. 39.)            The Court subsequently ordered

Defendants to file additional status reports. (Orders, ECF Nos. 43, 47.) Upon review of

the most recent status report, the Court lifted the stay and established June 30, 2021, as the

date by which the parties must complete discovery. (Procedural Order, ECF No. 52.)

       Because the stay has prevented the parties from conducting discovery, Defendants’

request that the Court deny the motion without prejudice in order to permit Defendants the
Case 1:19-cv-00547-GZS Document 55 Filed 01/25/21 Page 2 of 2                 PageID #: 385



opportunity to investigate through discovery the merit of any exhaustion defense is

reasonable. Accordingly, I recommend the Court deny Plaintiff’s motion for partial

summary judgment without prejudice to Plaintiff’s ability to renew the motion after the

completion of discovery.

                                         NOTICE

             A party may file objections to those specified portions of a magistrate
      judge’s report or proposed findings or recommended decisions entered
      pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
      court is sought, together with a supporting memorandum, within fourteen
      (14) days of being served with a copy thereof. A responsive memorandum
      shall be filed within fourteen (14) days after the filing of the objection.

             Failure to file a timely objection shall constitute a waiver of the right
      to de novo review by the district court and to appeal the district court’s order.

                                                  /s/ John C. Nivison
                                                  U.S. Magistrate Judge


Dated this 25th day of January, 2021.




                                             2
